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 9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
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12     ANTHONY BOUYER, an                 Case No. 2:20-cv-06615-PA-AFM
13     individual,

14                                            ORDER DISMISSAL WITH
       Plaintiff,                             PREJUDICE
15
       v.
16

17     HIGHCO INVESTMENT, LLC, a
       California limited liability
18     company; and DOES 1-10,
19     inclusive,
20     Defendants.
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28
                                    ORDER
                           DISMISSAL WITH PREJUDICE
     Case 2:20-cv-06615-PA-AFM Document 20 Filed 11/04/20 Page 2 of 2 Page ID #:82


 1         After consideration of the Joint Stipulation for Dismissal of the entire action

 2   with Prejudice filed by Plaintiff Anthony Bouyer (“Plaintiff”) and Highco
 3
     Investment, LLC (“Defendant”), the Court hereby enters a dismissal with prejudice
 4

 5   of Plaintiff’s Complaint in the above-entitled action, in its entirety. Each party shall

 6   bear his or its own costs and attorneys’ fees.
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 8         IT IS SO ORDERED.
 9
     DATED: November 4, 2020
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11
                                      PERCY ANDERSON
12                                    UNITED STATES DISTRICT JUDGE
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                                  [PROPOSED] ORDER
                              DISMISSAL WITH PREJUDICE
